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                         UNITED STATES BANKRUPTCY COURT
                                District of South Carolina


In re:                                     )
                                           )
Walter Frank Pigg                          )      Case No. 19-03201
                                           )
              Debtor.                      )


                         NOTICE OF WITHDRAWAL OF CLAIM

Claim No.32 was filed on August 7, 2019 by AutoMoney, Inc. The filing party now notifies the
Court that this claim is withdrawn as the debtor has paid his balance in full.


                                                  /s/ Abigail Duffy
                                                  Bankruptcy Administrator
                                                  AutoMoney Title Pawn, LLC
                                                  450 Meeting Street
                                                  Charleston, SC 29403
                                                  843-958-0340
                                                  bankruptcy@jolinent.com
